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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                             Criminal No. 21-MJ-386 (JTH)

 UNITED STATES OF AMERICA,                 )
                                           )
                             Plaintiff,    )
                                           )
               v.                          )          ORDER OF DETENTION
                                           )
 MARK ANTHONY SCERBO,                      )
                                           )
                             Defendant.    )


       This matter came before the Court on May 24, 2021, for a preliminary hearing and a

detention hearing on a criminal complaint. The defendant appeared in custody and was

represented by attorneys Ryan Garry and Elizabeth Duel. The United States of America was

represented by Assistant United States Attorney Miranda E. Dugi. After consulting with his

attorneys, the defendant understood that he had a right to appear in person and consented to

proceeding via videoconference due to COVID-19.

       The Court had before it a copy of the criminal complaint and a report prepared by the

United States Probation and Pretrial Services Office. This report recommended that the

defendant be detained pending trial based on the risk he posed of nonappearance and to the

safety of the community. Additionally, the Court reviewed the defendant’s submissions,

which included three letters—one from Scerbo’s counsel, one from a family member, and

one from a friend. The Court also heard argument from government and defense counsel

regarding the issue of detention.
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       The defendant waived his right to a preliminary hearing pursuant to Fed. R. Crim. P.

5.1(a)(1). Based on the defendant’s waiver, the Court finds that there is probable cause to

believe that the defendant committed the offenses alleged in the complaint.

       The Court also heard the Government’s motion for detention. Based on the record

before the Court and its analysis pursuant to the factors set forth in 18 U.S.C. § 3142(g), the

Court finds by a preponderance of the evidence that the defendant poses a risk of

nonappearance, and by clear and convincing evidence to believe that the defendant poses a

danger to the community. The Court also finds that no condition or combination of

conditions of release would reasonably assure the defendant’s appearance as required at

future court proceedings or the safety of the community. The Court therefore grants the

government’s motion for detention.

                                   FINDINGS OF FACT

       1.     The complaint and affidavit submitted by Federal Bureau of Investigation

(FBI) Special Agent Mitch Mabry in support of the complaint details accounts from

multiple witnesses, including flight attendants and passengers. These witnesses reported that

Scerbo possessed and snorted a white powdered substance, spoke and acted erratically and

aggressively, and brandished a butter knife. Due to safety concerns prompted by Scerbo’s

behavior, the pilot diverted the cross-country flight to Minneapolis-St. Paul International

Airport. The white powder seized from Scerbo by a flight attendant later field tested positive

for cocaine. After being advised of his Miranda rights, Scerbo acknowledged possessing the

powder, but denied having snorted it. He also denied that the powder was cocaine, claiming

instead that it was creatine. Special Agent Mabry’s affidavit notes that in his training and

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experience, creatine is a muscle-building supplement that is usually consumed orally, and

that suspects sometimes claim that cocaine is creatine because the substances appear to be

visually similar. After considering the allegations in the complaint and the Pretrial Services

report, the Court finds that the nature and circumstances of the offense and strength of the

evidence weigh in favor of detention.

       2.      Additionally, both the complaint and Pretrial Services report that the

defendant has a criminal history that includes two prior federal convictions involving

controlled substances, including one in which Scerbo attempted to smuggle drugs into a

federal prison facility.

       3.      The bond report described a lengthy criminal history that included multiple

offenses involving drug and alcohol abuse, as well as the use of aliases. It also revealed

Scerbo’s chronic non-compliance with conditions of supervised release and probation,

including multiple failures to appear and unauthorized travel outside the district. The report

also detailed Scerbo’s violations arising from new criminal activity, including related to

controlled substances.

       4.      None of the information presented to the Court reflected that Scerbo has ties

to the District of Minnesota beyond the instant offense conduct.

       5.      The Court is aware that Scerbo was previously released from Hennepin

County on conditional bond. While the Court understands and respects the decision of that

court, it has an independent responsibility to make an independent determination based on

the information presented to it under the Bail Reform Act.



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       6.     The complaint charges an offense that carries a mandatory minimum term of

imprisonment of 90 days and a maximum term of three years based on Scerbo’s criminal

history.

       7.     The Court heard argument from both counsel regarding potential release

conditions, including travel restrictions, location monitoring, and substance abuse

conditions. The Court finds that none of these are sufficient to secure the defendant’s

appearance at future proceedings or protect the community from him.

       8.     For all these reasons, Scerbo poses a serious risk of nonappearance and to the

safety of the community.

                                CONCLUSIONS OF LAW

       Based on the foregoing findings, the Court concludes:

       1.     There is probable cause to believe that the defendant has committed the

offenses alleged in the complaint, namely one count of possession of a controlled substance,

in violation of 21 U.S.C. § 844(a).

       2.     The government has shown that no condition or combination of conditions

will reasonably assure the defendant’s future appearance in Court or safety of the

community.

       Therefore, based on all the files, records, and proceedings herein, IT IS HEREBY

ORDERED:

       1.     The defendant is bound over to the U.S. District of Minnesota for indictment;

       2.     The motion of the United States for detention of the defendant without bond is

GRANTED;

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       3.     The defendant shall be committed to the custody of the Attorney General for

confinement in a corrections facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

       4.     The defendant shall be afforded reasonable opportunity to consult privately

with his lawyer; and

       5.     Upon order of the Court or on request of an attorney for the government, the

person in charge of the correctional facility in which the defendant is confined shall deliver

him to a United States Marshal for the purpose of appearance in connection with a Court

proceeding.



Dated: May 25, 2021                s/ Becky R. Thorson
                                   BECKY R. THORSON
                                   U.S. Magistrate Judge




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